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                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLORADO
                                   Judge Robert E. Blackburn

   Civil Action No. 22-cv-00733-REB-NYW

   WELLNESS WALK IN TUBS, LLC

           Plaintiff,

   v.

   SCRIPPS MEDIA, INC., d/b/a KOAA TV, d/b/a NOAA TV

           Defendant.


                                 ORDER RE: MOTION TO DISMISS

   Blackburn, J.

           The matter before me is Defendant Scripps Media, Inc.’s Motion To Dismiss

   Plaintiff’s Complaint [#18],1 filed April 26, 2022. I grant the motion to dismiss, but deny

   defendant’s request that the dismissal be with prejudice.

                                            I. JURISDICTION

           I have subject matter jurisdiction of this matter pursuant to 28 U.S.C. § 1332

   (diversity of citizenship).

                                     II. STANDARD OF REVIEW

           In ruling on a motion to dismiss pursuant to Fed. R. Civ. P. 12(b)(6), I must

   determine whether the allegations of the complaint are sufficient to state a claim within

   the meaning of Fed. R. Civ. P. 8(a). For many years, “courts followed the axiom that

   dismissal is only appropriate where ‘it appears beyond doubt that the plaintiff can prove

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              “[#18]” is an example of the convention I use to identify the docket number assigned to a
   specific paper by the court’s case management and electronic case filing system (CM/ECF). I use this
   convention throughout this order.
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   no set of facts in support of his claim which would entitle him to relief.’” Kansas Penn

   Gaming, LLC v. Collins, 656 F.3d 1210, 1214 (10th Cir. 2011) (quoting Conley v.

   Gibson, 355 U.S. 41, 45-46, 78 S.Ct. 99, 102, 2 L.Ed.2d 80 (1957)). Noting that this

   standard “has been questioned, criticized, and explained away long enough,” the

   Supreme Court supplanted it in Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 562,

   127 S.Ct. 1955, 1969, 167 L.Ed.2d 929 (2007). Pursuant to the dictates of Twombly, I

   now review the complaint to determine whether it “‘contains enough facts to state a

   claim to relief that is plausible on its face.’” Ridge at Red Hawk, L.L.C. v. Schneider,

   493 F.3d 1174, 1177 (10th Cir. 2007) (quoting Twombly, 127 S.Ct. at 1974). “This

   pleading requirement serves two purposes: to ensure that a defendant is placed on

   notice of his or her alleged misconduct sufficient to prepare an appropriate defense, and

   to avoid ginning up the costly machinery associated with our civil discovery regime on

   the basis of a largely groundless claim.” Kansas Penn Gaming, 656 F.3d at 1215

   (citation and internal quotation marks omitted).

          I must accept all well-pleaded factual allegations of the complaint as true.

   McDonald v. Kinder-Morgan, Inc., 287 F.3d 992, 997 (10th Cir. 2002). Contrastingly,

   mere “labels and conclusions or a formulaic recitation of the elements of a cause of

   action” will not be sufficient to defeat a motion to dismiss. Ashcroft v. Iqbal, 556 U.S.

   662, 678, 129 S.Ct. 1937, 1949, 173 L.Ed.2d 868 (2009) (citations and internal

   quotation marks omitted). See also Robbins v. Oklahoma, 519 F.3d 1242, 1247-48

   (10th Cir. 2008) (“Without some factual allegation in the complaint, it is hard to see how

   a claimant could satisfy the requirement of providing not only ‘fair notice’ of the nature of


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   the claim, but also ‘grounds' on which the claim rests.”) (quoting Twombly, 127 S.Ct. at

   1974) (internal citations and footnote omitted). Moreover, to meet the plausibility

   standard, the complaint must suggest “more than a sheer possibility that a defendant

   has acted unlawfully.” Iqbal, 129 S.Ct. at 1949. See also Ridge at Red Hawk, 493

   F.3d at 1177 (“[T]he mere metaphysical possibility that some plaintiff could prove some

   set of facts in support of the pleaded claims is insufficient; the complaint must give the

   court reason to believe that this plaintiff has a reasonable likelihood of mustering factual

   support for these claims.") (emphases in original). For this reason, the complaint must

   allege facts sufficient to “raise a right to relief above the speculative level.” Kansas

   Penn Gaming, 656 F.3d at 1214 (quoting Twombly, 127 S.Ct. at 1965). The standard

   will not be met where the allegations of the complaint are “so general that they

   encompass a wide swath of conduct, much of it innocent.” Robbins, 519 F.3d at 1248.

   Instead “[t]he allegations must be enough that, if assumed to be true, the plaintiff

   plausibly (not just speculatively) has a claim for relief.” Id.

          The nature and specificity of the allegations required to state a plausible claim

   will vary based on context and will “require[] the reviewing court to draw on its judicial

   experience and common sense.” Iqbal, 129 S.Ct. at 1950; see also Kansas Penn

   Gaming, 656 F.3d at 1215. Nevertheless, the standard remains a liberal one, and “a

   well-pleaded complaint may proceed even if it strikes a savvy judge that actual proof of

   those facts is improbable, and that a recovery is very remote and unlikely.“ Dias v. City

   and County of Denver, 567 F.3d 1169, 1178 (10th Cir. 2009) (quoting Twombly, 127

   S.Ct. at 1965) (internal quotation marks omitted).


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                                             III. ANALYSIS

          This case arises out of a November 2018 contract between plaintiff and

   defendant for the provision of advertising services. The contract consists of a one-

   page introductory letter and an attached “Media Plan,” which appears to be a replication

   of a Power Point presentation. (See Resp. App., Exh. 1(a).)2 The cover letter stated

   that defendant practiced “a Guardian culture model,” which “means we are looking out

   for your business at every turn.” Therein, defendant claimed to “place an emphasis on

   a high level of ethics, accuracy and balance in our news products and our business

   practices.” (Amended Complaint ¶ 8 at 2; Resp. App., Exh. 1(a) at 1.). Unlike other

   media companies, which “believe their work is complete when your message is seen or

   when your prospect visits your website,” defendant was “focused on how the advertising

   impacts your bottom line” and would be “there with you each month to ensure you are

   hitting your sales goals.” (Amended Complaint ¶ 9 at 2; Resp. App., Exh. 1(a) at 1.)

   Defendant further touted the “decades of combined experience our management team

   has and . . . their proven trace record of helping local businesses achieve their financial

   goals” and claimed “the strength of our product, our people and of our processes” gave

   it “the highest level of renewal of advertising campaigns.” (Amended Complaint ¶ 10

   at 2-3; Resp. App., Exh. 1(a) at 1.)

          Two additional pages of the Media Plan describe defendant’s “Reputation

   Management” services. Noting that “More accurate and Consistent Business listings


          2
              This document, although not attached to the Amended Complaint, is referenced therein and
   central to plaintiff’s claims. It therefore is properly considered in resolving the motion to dismiss.
   Alvarado v. KOB–TV, LLC, 493 F.3d 1210, 1215 (10th Cir. 2007); United States Olympic Committee v.
   American Media, Inc., 156 F.Supp.2d 1200, 1204 (D. Colo. 2001).

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   Helps [sic] a business to rank higher in a search!,” defendant allegedly promised, inter

   alia, to “[e]nsure that the information about your business is correct throughout the web”

   and “Protect Your Reputation” by “[p]revent[ing] negative reviews with the review

   generation and filtering tool – improve your review score!” (Amended Complaint ¶¶

   12-13 at 3; Resp. App., Exh. 1(a) at 10 & 11.)

          Plaintiff contends that in April 2019, during the term of the contract, defendant

   broadcast negative, allegedly inaccurate, news stories about it. (See Resp. App., Exh.

   1(b).)3 These news stories allegedly damaged plaintiff’s reputation and caused it to lose

   contracts and hundreds of thousands of dollars in revenue. This lawsuit, for breach of

   contract and breach of the implied duty of good faith and fair dealing, followed.

          Plaintiff claims the publication of these negative stories constituted a breach of

   defendant’s contractual promise to protect its reputation. Matthys v. Narconon Fresh

   Start, 104 F.Supp.3d 1191, 1204 (D. Colo. 2015) (setting forth elements of claim for

   breach of contract). Under Colorado law (which is applicable in this diversity action,

   see Los Lobos Renewable Power, LLC v. Americulture, Inc, 885 F.3d 659, 668 (10th

   Cir.), cert. denied, 139 S.Ct. 591 (2018)), the terms of a contract “must be examined

   and construed in harmony with the plain and generally accepted meaning of the words

   used, and reference must be made to all the agreement's provisions,” Fibreglas

   Fabricators, Inc. v. Kylberg, 799 P.2d 371, 374 (Colo. 1990). Given the language of

   the contract and the context in which the “reputation management” representations

   were made, I find and conclude that plaintiff has failed to state a facially plausible claim


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              These stories were published under the auspices of KOAA’s “News5 Investigates” series.

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   for breach of contract.

          It is abundantly clear that the parties’ contract was for the provision of advertising

   services. The representations made in the cover letter (to the extent they can be

   considered actionable terms of the contract, and not mere puffery) repeatedly refer to

   an “advertising campaign” “focused on how advertising impacts your bottom line,” which

   will provide plaintiff with “the highest quality, largest, most efficient and most effective

   form of advertising results.” (Resp. App., Exh. 1(a) at 1.) Consideration of the

   provisions of the contract as a whole and in context further bolsters that conclusion.

   The document sets forth a proposed media strategy centered on getting the “right

   message” to the “right audience.” (Id., Exh. 1(a) at 2-5.) It points out that Google and

   Walmart spend a substantial portion of their advertising budgets on television and sets

   forth a proposed broadcast schedule for plaintiff’s advertising and suggests that such

   television advertising will drive potential customers to engage with plaintiff online. (Id.,

   Exh. 1(a) at 7-9.)

          It is this context in which defendant agreed to “Protect Your Reputation” by

   generating positive reviews for the company and monitoring social media for negative

   reviews. (Id., Exh. 1(a) at 11.) It promised to “[e]nsure that the information about your

   business is correct throughout the web” by taking steps to “help your business come up

   higher in search engines” and “mak[ing] sure your [Google, Bing, and Yelp] profiles say

   the right things to stand out and get traffic,” thus ensuring a “[m]ore accurate and

   [c]onsistent business listing[]” to help plaintiff “rank higher in a search!” (Id., Exh. 1(a) at

   10.)

          None of these statements plausibly can be construed to constitute a promise that

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   defendant would prevent its investigative news division from reporting negative stories

   about plaintiff. Indeed, nothing set forth in the Amended Complaint suggests

   defendant’s advertising department has any input into or ability to control the output of

   the news division. By the terms of the contract, defendant agreed to monitor and

   manage negative customer reviews of plaintiff’s business such as might be found on

   Yelp or similar online crowd-souring or peer-to-peer outlets, not negative news reports.

   Accordingly, defendant’s motion to dismiss this claim will be granted.

          Plaintiff likewise fails to make out a facially plausible claim of breach of the

   implied covenant of good faith and fair dealing. “Colorado, like the majority of

   jurisdictions, recognizes that every contract contains an implied duty of good faith and

   fair dealing.” Amoco Oil Co. v. Ervin, 908 P.2d 493, 498 (Colo. 1995), as modified on

   denial of reh'g (Jan. 16, 1996). The duty requires parties to deal with one another with

   “faithfulness to an agreed common purpose and consistency with the justified

   expectations of the other party.” Id. (citation and internal quotation marks omitted).

   However, the doctrine is only applicable where the contract gives one party discretion in

   the performance or determination of a contractual provision, such as quantity, price, or

   time. Id. Moreover, because the central precept of contract law remains that “contracts

   which are free from ambiguity are to be enforced as written,” the duty of good faith and

   fair dealing cannot “contradict terms or conditions for which a party has bargained.” Id.

   (citation and internal quotation marks omitted). See also Integrity Medical

   Management, LLC v. Surgical Center at Premier, LLC, 234 F.Supp.3d 1085, 1097

   (D. Colo. 2017).

          Applying those principles here, the Amended Complaint plainly fails to state a

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   plausible claim. To the extent the contract gave defendant discretion in the

   performance of its “reputation management” responsibilities – a conclusion which is not

   at all apparent from either the allegations of the Amended Complaint or the terms of the

   contract – nothing therein could have led plaintiff justifiably to expect defendant had

   undertaken to prevent the publication of negative news stories about the company, by

   defendant’s own news division or any other. Because plaintiff cannot rely on the implied

   duty of good faith and fair dealing to create new terms for which the parties did not

   bargain, this claim also must be dismissed.

   Defendant asks further that this case be dismissed with prejudice because any

   amendment would be futile. See Brereton v. Bountiful City Corp., 434 F.3d 1213,

   1219 (10th Cir. 2006). While it may be true, as defendant argues, that any claims

   plaintiff might bring for defamation, fraud, or negligence would be barred by the

   applicable statutes of limitation, the appropriate point to make such a determination is

   when (and if) plaintiff moves for leave to file an amended complaint asserting such

   claims. See Pena v. Greffet, 108 F.Supp.3d 1030, 1039 n.4 (D.N.M. 2015).

          On the other hand, while plaintiff requests the opportunity to amend its complaint

   yet again to avoid dismissal, it offers nothing to suggest it has additional facts to plead

   which might establish viable claims of any type. It strikes the court that if plaintiff had

   evidence suggesting defendant breached its promises to provide plaintiff with the

   advertising services contemplated by the contract, it would have alluded to those facts




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   in its response.4 Moreover, dismissing claims without prejudice “is preferable to

   uncritically permitting the amendment and then analyzing only upon motion to dismiss,

   because it avoids the situation where a plaintiff ends up filing multiple iterations of his or

   her complaint trying to correctly plead a claim, and the defendant has to answer or

   move to dismiss each successive pleading.” Id. I find this to be the appropriate course

   of action here, and therefore dismiss plaintiff’s claims without prejudice.

                                                IV. ORDERS

           THEREFORE, IT IS ORDERED as follows:

           1. That Defendant Scripps Media, Inc.’s Motion To Dismiss Plaintiff’s

   Complaint [#18], filed April 26, 2022, is granted in part and denied in part as follows:

                   a. That the motion is granted to the extent it seeks dismissal of the claims

           of the plaintiff; and

                   b. That the motion is denied insofar as it requests dismissal with

           prejudice;

           2. That the claims of the plaintiff are dismissed without prejudice;

           3. That judgment without prejudice shall enter on behalf of defendant, Scripps

   Media, Inc. d/b/a/ KOAA TV, d/b/a KOAA, d/b/a NOAA TV, and against plaintiff,

   Wellness Walk In Tubs, LLC, as to all claims for relief and causes of action asserted

   herein;

           4. That defendant is awarded its costs, to be taxed by the clerk in the time and


           4
            Assuming arguendo such facts are not more properly presented by way of counterclaim in
   defendant’s state-court suit seeking to collect amounts plaintiff allegedly owes under the contract. See
   Scripps Media, Inc. v. Wellness Walk In Tubs LLC, Civil Action No. 2021CV 31551 (El Paso County,
   Colo.)

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   manner prescribed by Fed. R. Civ. P. 54(d)(1) and D.C.COLO.LCivR 54.1; and

         5. That this case is closed.

         Dated June 14, 2022, at Denver, Colorado.

                                                BY THE COURT:




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